Case 2:05-cr-20036-STA Document 27 Filed 05/24/05 Page 1 of 2 Page|D 16

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

UNITED STATES OF AMERICA,

 

Plaintiff,

V. N0. 05-20()36-B

BOOKER T. GOLDEN,

Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION REQUESTING ADDITIONAL TIME
TO FILE MOTIONS UNTIL AFTER THE COMPLETION OF DISCOVERY

 

Before this Honorable Court is Defendant Bool<er T. Golden’s Motion Requesting
Additional Time to file Motions until after the completion of Discovery. Said motion is well
taken.

IT IS THEREFORE, ORDERED, ADJUDGED AND DECREED that Defendant’s
Motion Requesting Additional Time to file Motions until after the completion of Discovery is
hereby GRANTED.

IT ls so 0RDERED this Z`Fq`day of May, 2005.

 

J. DANIEL BREEN
NI D STATES DISTRICT IUDGE

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Honorable .1. Breen
US DISTRICT COURT

